Case 2:21-cv-00067-Z            Document 207      Filed 01/22/25        Page 1 of 1      PageID 8377


                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

 STATE OF TEXAS, et al.,

                Plaintiffs,

 v.                                                             2:21-CV-067-Z

 JOSEPH R. BIDEN, JR., et al.,

                Defendants.

                                                ORDER

         On January 21, 2025, the Department of Homeland Security (“DHS”) reinstated the Migrant

Protection Protocols at the center of this litigation. DHS Reinstates Migrant Protection Protocols,

Allowing Officials to Return Applicants to Neighboring Countries, DEP’T OF HOMELAND SEC. (Jan. 21,

2025),    —_https://www.dhs.gov/news/2025/01/21/dhs-reinstates-migrant-protection-protocols _ fhttps://

perma.cc/2NFU-FACJ]. The Court ORDERS the parties to submit a joint brief detailing how DHS’s

policy change bears on the disposition of this litigation. The joint brief must be submitted on or before

Jan 31, 2025.

         SO ORDERED.
                                                            Af              Lau
         January Le 2025


                                                        MAYTHEW J. KACSMARYK
                                                        UNITED STATES DISTRICT JUDGE
